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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

KELLI SMITH, individually and on behalf

of a class of similarly situated female

employees, Civil Action No. 13-2970 (MAS) (LHG)
Plaintiffs, ORDER GRANTING FINAL

APPROVAL OF CLASS ACTION
V. SETTLEMENT AND ATTORNEYS’
FEES, COSTS, AND SERVICE

MERCK & CO., INC., et al.. AWARDS

Defendants.

 

 

This matter comes before the Court upon Plaintiffs’ Motion for Final Approval of the Class
Settlement (“Settlement” or “Settlement Agreement”) (ECF Nos. 432, 440) and Plaintiffs’ Motion
for Attorneys’ Fees, Costs, and Service Awards (ECF Nos. 434, 435). The Court has carefully
considered the parties’ submissions, including the Declarations of Russell Kornblith (ECF
No. 436), David W. Sanford (ECF No. 43 7), Deborah K. Marcuse (ECF No. 438), and Melissa
Baldwin (ECF No. 439), and the annexed exhibits; the Declarations of Class Representatives
Kathryn Whitmer (ECF No. 444), Kandice Bross (ECF No. 445), and Rachel Mountis (ECF
No. 446); correspondence from Russell Kornblith (ECF No. 448); and the December 3, 2019
hearing testimony of Class Representative Kelli Smith. For the reasons set forth on the record, the
Court approves the Settlement Agreement as being fair, reasonable and adequate.

Accordingly, IT IS on this 3rd day of December 2019, ORDERED:

I. For purposes of this Order, the Court adopts by reference the definitions in the
“Definitions” section of the Settlement Agreement (ECF No. 436-1).

2. The Court finds that distribution of the Court-approved Notice (ECF No. 422-3) constituted
the most effective and practicable notice, under the circumstances, to Class Members
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concerning the proposed settlement and the Final Approval Hearing, and constituted
sufficient notice to all persons entitled to receive notice required by due process, Federal
Rules of Civil Procedure 23(c)(2) and 23(e), and the Equal Pay Act.

3. For settlement purposes only, the Court grants final certification of the following class
pursuant to Federal Rule of Civil Procedure 23(b)(3):

All female employees who are or were employed by Merck Sharp
& Dohme Corp. or Intervet, Inc., or any of their affiliates, parents,
subsidiaries, predecessors, successors, or assigns, and assigned to a
MOS, M06, M07, M08, M09, S1 and/or S2 Sales Representative
position in the United States for at least one day between December
8, 2010 and October 1, 2018.

4. For settlement purposes only, the Court grants final certification of the following collective
pursuant to 29 U.S.C. § 216(b):

All female employees who are or were employed by Merck Sharp
& Dohme Corp. or Intervet, Inc., or any of their affiliates, parents,
subsidiaries, predecessors, successors, or assigns, and assigned to a
M05, M06, M07, M08, M09, S1 and/or S2 Sales Representative
position in the United States for at least one day between December
8, 2010 and October 1, 2018.

5. The Court approves the Settlement Agreement, finding it is fair, reasonable and adequate,
pursuant to Federal Rule of Civil Procedure 23(e), and meets the applicable standards for
settlement under the Equal Pay Act. The Court further finds that each term, provision,
condition, and agreement of the Settlement Agreement is adopted, incorporated, and made

part of this judgment and shall be effective, implemented, and enforced as provided in the
Settlement Agreement.

6. The “Settlement Class” includes all individuals who fall within the definition of the Federal
Rule of Civil Procedure 23(b)(3) Class and the Equal Pay Act Collective, except for the
following individuals who returned exclusion requests: Carol Yandle, Kelly Clark, Karyn
Iffland, Tracy Hoye, Janet Ferguson, Linda Waksmunski, Dawn Stephens, Cathy Reevers,
Karen Parker, Kelly Ann Colosky, Jennifer Hannon, Natalia Perine, Mei Soong-Don, Erin
Henige, Jeannie Bishop, Brooke Smith, Iquo Okon, and Meca Brewer (the “Opt-outs”).
The Opt-outs are not bound by the terms of the Settlement Agreement.

7. The Court finds the service awards for Plaintiffs and Opt-in Plaintiffs who participated in
discovery to be fair, reasonable, and appropriate, and approves the service awards as listed
in the Appendix to this Order,

8. The Court approves Class Counsel’s request for attorneys’ fees in the amount of
$2,272,845.38 and reimbursement of litigation expenses in the amount of $727,154.62.
The Court additionally approves payment of the Settlement Administrator’s costs out of
the total Settlement amount in the amount of $50,000.
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9. Defendants shall pay the settlement in accordance with the Parties’ Settlement Agreement,
and settlement monies will be distributed in accordance with the Settlement Agreement,

10. The Court finds that it has jurisdiction over the subject matter of this action, the Class
Representatives, the other Settlement Class Members, and Defendants. Without affecting
the finality of the judgment, the Court reserves exclusive and continuing jurisdiction and
venue with respect to the consummation, implementation, enforcement, construction,
interpretation, performance, and administration of the Settlement and judgment.

11. Plaintiffs’ Motions for Final Approval of the Class Settlement (ECF No. 432) and for
Attorneys’ Fees, Costs, and Service Awards (ECF No. 434) are GRANTED.

12. This action is dismissed with prejudice, without costs to any Party.

 

MICHAEL ee

UNITED STATES DISTRICT JUDGE
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Appendix
The approved Service Awards are as follows:

1. $25,000 each to Kelli Smith, Kandice Bross, Rachel Mountis, and Kate Whitmer;

2. $4,000 each to Katy Allred, Madhuri Ardron, Elizabeth Baker, Linda Blenke-Galloway,
Cheryl Bradbury, Lisa Brooks, Joan Buelow, Jamie Cairo, Christina Calandra, Donnette
Calhoun, Carol Caridad, Victoria Carrigan, Bernadette Cay, Jane Chavez, Mindy Childers-
Brown, Linda Cieresewski, Pamela Dickey, Yalonda Dugan, Beth Easters, Mary Farley
(Holihan), Tiffany Florez, Sara F rick, Christine Gorddard, Lauri Hale, Renee Hall, Angela
Hamm, Lori Harpsoe, Arlene Heiselman, Brenda Hoffman, Denise Jones, Patti Joyner,
Felicia Keitt, Susan Buttermore (Kilgore), Brittany Koury (Walton), Sunny Lasley,
Stephanie Legens, Dima Madanat (Keltner), Allison Mallory, Katie Miller, Debra
Moorcroft, Sharon Myers, Neva Papachek, Lori Parins, Kimberley Peoples, Grace
Pietropaoli, Janine Pollard, Laura Prosser, Pamela Rajtik, Elizabeth Salyers (Young),
Andrena Scholl, Tonya Sellers, Lori Shelton, Cassandria Slay, Deborah Strobl, Gena
Thielman, Bonney Traylor (Bashore-Johnson), Nicole Valenti, Jennifer Vitale, Viki
Wayne, Carolyn Webber, Deborah Webster, Amber Wertheim, Shari Wilson, Celina Wise,
Cara Woodard, and Maria Zanoni-Peterson:

3. $1,000 each to Tina Alianiello, Alisa Ekdeshman, Deborah Jarosz, Amy Provonchee, Nissa
Brazell, Kori Griffin, Sherri Smith-Flickinger, Tonya Hartwich, Tara Bakker, Celia
Cortez-Gentner, Kelly Marquis, Jesica Mayer, Megan Atterbury, Debora Gotsdiner, Julie
Cooke, Joanna Allison, Deanna Kosek, Marilyn Braveman, Cami Knox-Dubois, Noelle
Cregar, Regenia Anderson, Courtney Adams, Kelly Hadley, Amy Cooper, Meredith Lett,
Sandra Lowenhar, Debra Wilson, Courtney Megirt. Meredith Rehm, Kimberly Snyder,
Jennifer Vogrin, Debra Holt, Natalie McClinton, Haley Povero, Barbara Rahke, Jennifer
Sierra, Heather Vanderbeek, Theresa Wood, Lynne Frankowski, Christa Lynn, Elizabeth
Mcrae, Karen Okerlund, Christina Dunn, Karen Binder, Colleen Caro (Storzek), Courtney
Bourgeois, Christina Breda, Lisa Elliott, Amber Leach, Tracy Young, Holly Peterson,
Claire Sullivan, Joanne Kelso-Mandigo, Wendy Paquin (Wesselhoft), Adriana Benito, and
Amanda Butterfield;

4. $100 each to Donna Fritsch, Karen Mortka, Antonia Solliday, Kelly Plaxin, Concetta Laya,
Fitima Thomas, Lauri Ford Del Rio, Rakell Bachman, Donna Flanagan, Germaine Foley,
Holly Berry Swartman, Ashley Stewart, Rachel Stovall, Linda Jenson, Ivy-Barbara Lung,
Jennifer Nicholson, Alexis Medonald, Diane Steffen, Loria Cone, Kristy Carriere, Laura
Goodwin, Kristy Haynes, Suzette Allen, Shonda Shores, Janelle Panozzo, Elizabeth
Sanzaro, Catherine Feminella, Kathryn Epler, Autumn Jevicky, Rebecca Seigel, Holly Van
Auken, Mary Estes, Lisa Brockway, Gwendolyn Aguero, Theresa Alzate, Julie Netemeyer,
Keely Larson, Nathalie Bullock, Holly Phillips, Jeanette Chandler, Joanne Weidner, Sarah
Dudley, Lynn Latella, Annmarie Hughes, Mickie Baldwin, Mary Blacklock, Conni
Mazzoni, Lisa Winters, Kathleen Carr, Jeanne Puelma, Amy Nelson, Jennifer Maure,
Joelle Longo, Ann Glynn, Ellen Nelissen, Patricia Gleim, Valeigh Davis, Diana Moffitt,
Katie Heggemeier, Angela Tullier, Jan Lawrence, Sheree Witry, Deborah Malenke, Gina
Antretter, Wendy Duren, Laurie Lucero-Gonzalez, Tammie Sisco, Regina Rathan, Susan
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Spencer-Wannamaker, Annie Coates, Marva Short, Jennifer St John, Barbara Albrecht,
Evona Watson, Martha Foltz-Opoien, Silvie Sharfuddin, Sivakami Venkatachalam,
Gretchen Schuerman, Helene Harris, Elizabeth Bass, Carla Thompson, Kathryn Walsh,
Alexandra Dardy, Erica Memahon, Cynthia Ash, Christine Macarelli, Sheri Kempf,
Louella Navallo-Laureola, Elizabeth Dmello, Mary Graves, Tamara Zimmer-Baxter, Julie
Stevenson, Darla Sheafer, Carol Tucker, Jennifer Lemaire, Jessica Baker, Kerrie Russell,
Jody Vincent, Stephanie Espinoza, Christina Caruthers, Mandy Sheffield-Ballard, Marielle
Fransen, Susan Gamber, Deborah Chandler, Janice Muradali, Stacey Figg, Beverly
Gonzalez-Lewis, Shirl Wall, Lara Reed, Sheryl Gamble, Julie Wurch, Michele Hastings,
Melissa Murphy, Peggy Begala, Diane Pratt, Julie Melton, Nicole Maly-Verhelst, Candice
Madden, Finicia Compton, Susan Pappas, Shannon Andreoulakis, Andrea Peek, Kathleen
Pratt-Loughney, Lori Horne, Anita Abbot, Tami Senyuva, Sandra Boutros, Carly Wobbe,
Dana Dominick Fazio, Kimberly Murley, Julie Kurland, Melinda Loo, Leah Barabasz,
Lara Henry, Christy Jeffries, Leanne Papi, Linda Dorsey, Stacey Mcdonald, Jean Malicay,
Kimberly Kern, Jeanette Adler, Rachel Hayes, Melanie Juraschek, Wendy Jakeway, Jody
Childs, Mary Catherine Tartara, Bari Engel, Kristie Bruce, Krista Seery, Abby Janssen,
Marcey Hall, Linda Swindler-Venters, Alicia Turney, Lori Kiser, Janine Fitzgerald,
Natalie Woodbury, Tackla Voigt, Koren Washington, Lois Craighead, Carla Stone-
Morrison, Mary Richmond, Rhonda Randall, Susan Walburg-Smith, Patricia Orr, Colleen
Tomsic, Cassandra Silveira, Virginia Saskel, Patricia Berry, Cynthia Reynolds, Diane
Schuj, Denise Miller, Nancy Britton, Luz Cisneros, Allison Tyson, Caridad Guerra,
Kimberly Bishop, Jami Leach, Carla Maroon D’alba, Cynthia Hall-Dumale, Susan Neel,
Whitney Frederick, Sandra Lugo, Karen Centonze, Judy Beghtol, Jill Beyer, Colleen
Bresnahan, Michelle Meier, Kendra-Marie Burnam, Donna Hampton, Mistie Larson,
Diane Rosas, Penelope Fox, Marisa Tompkins, Carolyn Wolfe, Kuuleialoha Kam, Angela
Kuhlman, Georgia Montgomery Martin, Maureen Zupon, Andrea Brumley, Gail Boomer,
Cheryl Davis-Korte, Margit Gilbertson, Whitney Curley, Juliette Gelpi, Kathryn Kirk,
Christina Straub, Anne Jeffery-Kenter, Diane Reidle, Katrina Turgeon, Colleen Falke,
Robin Burke, Shaghayegh Slaughter, Niveah Dymszo, Kathryn Ellerthorpe, Sheree
Scheetz, Latasha Johnson, Monica Keating, Rachel Healey, Connie Lowy, Jennifer Torres,
Lori Demyers, Mary Fox, Keira Fant, Susan Briggs, Stephanie Ryan, Lauralyn Parmelee,
Suzanne Macbrien, Sherron Wedderburn, Ann Yamauchi, Laura Boyko-Arcaris, Jody
Stephens, Deirdre Thomas, Suzanne Wright, Marjorie Titunik, Shelia Carter, Angela
Juniphant, Tara Lewis, Krista Peterson, Paula Heller, Megan Grieves, Misty Adkisson,
Agatha Halpern, Stephanie Rozman, Janet Knight, Melissa Taylor, Hebah Fox, Amy
Mertz, Glenda Memahon, Jennifer Ravenscraft, Corrie Quintard, Brienne Byxbe, Rebecca
Stein, Karen Perez, Jessica Bennett, Selka Sung, Cindy Maher, Nancy Asplund, Tamel
Johnson Boyd, Michel Bennett, Sheila Brown, Tara Edelstein, Kelli Calcutt, Amanda
Williams, Kristin Butler, Stacey Braxton, Gricelda Garcia, Rachael Holt, Sherry Foster-
Barry, Misti Mcnichols, Kathy Phillips, Amelia Lassen, Shannon Batchelor, Lisa Salazar,
Shahna Elert, Lisa Wong, Shelly Perkins, Dee Farris, Kimberly Bishop, Jackie Wilson,
Jennifer Auman, Holly O’connell, Katherine Carney, Tamara Hollinger-Forrest, Jennifer
Fernandes, Alicia Silva, Claudia Boer, Judy Ward, Rebecca Halada, Rachel Dzieran, Jodi
Stice, Ami Painter, Robin Wharton, Tanya Cooper-Mcshane, Stacee Derouchey, Justine
Vricella, Lisa Nicole Davidson, Charlotte Carpenter, Jan Patton, Julie Muller, Rebecca
Cyrus, Macee Balka, Allison Gee, Joan Hill, Terri Freeman, Denise Hayle, Stacie Atkins,
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Suzanne Ledergerber-Carbone, Michelle Delmonico, Sharon Culclager, Rebecca Weaver,
Delisa Purchase, Sabrina Smith, Lisa Breda, Linda Papke, Tracey Johnson, Aimee
Shimamoto-Juenger, Elizabeth Neff, Diamond Prothro, Pamela Striegel, Gin Kline, Marcia
Ireland, Teresa Naclerio, Teri Conley, Danica Schiller, Susan Fernandez-Chamberlin,
Pamela Grundmann, Jodi Van Loben Sels, Julianne Schlueb, Mary Jo Downing, Linda
Kowalski, Lisa Burns, Meghan White, Susan Walker, Stacey Johnson-Kiborn, Lucille
D’esposito, Cary Tracy, Cheryl Hintze, Aimee Degaetano, Kim Stepka, Debra Bayly, Betty
Madariaga, The Estate of Robyn L. Smith, Chery] Vinluan-Samson, Leslie Garcia, Kristin
Harrison, Laura Piazza, Holly Phillips, Casey Nemec, Kathleen Moran, Marijake Caprell,
Beth Pilcher, Michelle Kir » Christina Reddemann, Joyce Keen, Alison Way, Janice
Caprelian, Pamela Drake, Gwendolyn Gallant, Angie Brandenburg, Melba Vasquez,
Melissa Ballheimer, Caroline Williams, Ellen Paige Wrede, Serena Stanek, Carmen
Pantelas, Nancy Smith, Elizabeth Estep, Stacey Miller, Kimberly Blade, Molly Page, Farah
Javadi, Amy Collins, Katheryn Kruse, Colleen Mcdonald, Lisa Hanger Paul, Elise Watts,
Kristin Jeffery, Debra Hurst-Garrett, Ashraf Samji, Mara Loebig, Charlene Pusateri,
Wuday Thomas, Lisa Lohmann, Dana White-Scott, Wanda Kemp-King, Dorothy Johns,
Cybill Murray, Brooke Macmichael, Brenda Warren, Margaret Schrader, Lindsay Moore,
Janna Dahl, Kimberly Sinclair, Michele Tegeler, Meredith Makowski, Gina Menz, Chery]
Harris, Kerry Berens, Jocelyn Willis, Linda Rodesky, Barbara Arison, Kim Armato, Chery]
Kiernan, Lori Thomas, Lelia Wells-Ogunmoyela, Andrea Mallonee, Hillary Mullins,
Chantil Shamus, Mae Zaragoza, Holly Cahn, Susan Nowoswiat, Michelle Smajda, Rose
Mary Manganiello, Miriam Manahan, Jeanette Levy, Chanelle Hartz, Patricia Butler, Kelly
Spilman, Lori Palmer, Heather Donahue, Monica Bohnert, Betty Lovinggood, Heather
Jackson, Dana Duverney, Julianne Smallwood, Lisa Hanly, Lissette Silva, Sheila Miller,
Carla Saggese, Molly Whisenant, Diane Rodriguez, Bonita Hiley, Amy Draper, Megan
Peters, Karen Hyatt, Anne Lenkay, Karen Humphrey, Lisa Ziemer, Jennifer Brumfield,
Tina Anselmo-Wiker, Carolyn Sledge, Karen Willard, Valerie Gansen, Lia Broussard,
Sheila Lippard, Jennifer Haid, Kimberly Lapeirre, Christine Krinvic, Lindsay Miller,
Deborah Milan, Pamela Hamacher, Carissa Johnson, Brittany Cook, Maria Mach,
Kimberly Copeland, Lauren Bailey, Melissa Ferrin, Alison Wilbon, Kim Renzi, Meghan
Doyle, Melissa Rudo, Melissa Sullivan, April Heine, Nicole Nowik, Kathy Randolph,
Nicole O’rourke, Rebecca Gibson, Karen Murphy, Jennifer Lee-Gilbert, Bree Smith,
Cynthia Maxwell, Megan Galli, Christine Kahn, Julie Smith, Jennifer Lamb, Janet
Kormondy, Shannon Velenik, Deborah Grissett, Shreya Kothary, Katherine Doubek,
Denise Miller, Lori Ng, Gina Engle, Angela Shires, Teylor Wettstein, Tiffany Ligtenberg,
Hayley Springer, Mary Dayton, Karin Beck, Velda Dillard, Kellye Menulty, Richelle
Ransom, Leslie Brunette, Barbara Merry, Kathleen Deely, Regina Pappas, Anne
Nicolucci-Tanner, Allison Pilmer, Deborah Whitfield, Jane Burkhalter, Gail Robinson,
Emily Blair, Julie Marburger, Sarah Karl, Kyna Heuring, Bryana Mayer, Hart Kiser,
Patricia Butler, Mary Garty, Mary Reilly, Karen Trump, Jennifer Mcdowall, Lee
Livingston, Regina Cerna, Tracy Stahl, Katie Eharoshe, Cindy Boles, Gae Heitmann,
Catherine Sprague, Christy Steele, Lyssa High, Randi Naar, Laura Reilly, Melissa
Hancock, Denise Johnson, Tonya Clendenning-Jonswold, Dawnel Stolteben-Bonvino,
Demian Vargas, Shannon Schmidt, Patricia Haswell, Kara Leinum, Trisha Strickland,
Amy Nicole Baker, Rosemarie Cooley, Loredana Galbraith, Nicole Devallee, Samantha
Stankovich, Lisa Janine Baren, Maryjean Miniati, Julie Judge, Kelly Farmer, Cassandra
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Garcia-Hooks, Debora Torres, Barb

ara Maedl, Tara Hoffman, Shelby McQueen, and
Marlene Alden.
